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                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

   WESTGATE RESORTS, LTD., et
   al.,

                            Plaintiffs,

   v.                                                     Case No: 6:18-cv-1088-Orl-31DCI

   REED HEIN & ASSOCIATES, LLC,
   SCHROETER GOLDMARK &
   BENDER, P.S., JAMES D. HAILEY,
   THOMAS JAMES BREEN, KEN B.
   PRIVETT PLC, KEN B. PRIVETT,
   BRANDON REED, TREVOR HEIN
   and THOMAS PARENTEAU,

                            Defendants.


                                              ORDER
           Upon consideration of the Stipulation for Dismissal with Prejudice of Claims against

   Defendants Ken B. Privett and Ken B. Privett PLC (Doc. 90), and pursuant to Fed. R. Civ.

   P. 41(a), it is hereby

           ORDERED that Plaintiffs’ claims against Ken B. Privett and Ken B. Privett PLC are

   dismissed with prejudice, each party to bear its own fees and costs. Any pending motions

   as to these defendants are DENIED as moot.

           DONE and ORDERED in Chambers in Orlando, Florida on March 25, 2019.




                                                                                          
   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
